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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

Charlotte Loquasto, et al.,                                 §
                                                            §
               Plaintiffs,                                  §
v.                                                          §           Civil Action No. 3:19-cv-01455-B
                                                            §          (Consolidated with Civil Action No.
Fluor Corporation, Inc., et al.                             §                   3:19-cv-01624-B)
                                                            §
               Defendants.                                  §


                                        REPLY APPENDIX [Doc. 45]

                                                                                                                   PAGE

Exhibit 1      Declaration of Lindsay Weindruch ..................................................................... 1-3

Exhibit 2      Declaration of Lieutenant General (Retired) Mick Bednarek........................... 4-10

Exhibit 3      Declaration of Ronald Riley ........................................................................... 11-53
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                            EXHIBIT 1




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                     DECLARATION OF MS. LINDSAY WEINDRUCH

1.     My name is Lindsay Weindruch. I currently serve as a Contracting Officer for the U.S.

Army, Army Contracting Command – Rock Island, in Rock Island, IL. Leading up to and

including in November 2016, I served as the LOGCAP IV Contracting Officer.

2.     I have personal knowledge of the facts stated in this declaration, and if called as a

witness, could competently testify to them.

3.     Fluor’s performance of essential sustainment support services for the U.S. Army in

Afghanistan fell within the scope of the LOGCAP IV Contract. Fluor augmented and was

integrated within the military at Bagram Airfield, and Fluor worked alongside the military, in

performing services under the LOGCAP IV contract.

4.     I have firsthand knowledge of Fluor’s integration within the military and contractual

apparatus at Bagram Airfield as Fluor performed under the LOGCAP IV contract.

5.     On a daily basis, Fluor personnel interacted with military and civilian Administrative

Contracting Officers (“ACOs”), Procuring Contracting Officers (“PCOs”), LOGCAP Support

Officers (“LSOs”), and various other military representatives, including personnel within the

Defense Contracting Management Agency (“DCMA”) and Army Contracting Command

(“ACC”).

6.     Under the LOGCAP IV Contract Data Requirements List (“CDRLs”), Fluor submitted to

the Army a variety of deliverables, on a daily or weekly basis, including personnel status reports,

cost reports, forecasts of expenditures, etc., regarding activities at Bagram.

7.     Pursuant to Task Order 0005, PWS Section 5.22.03, Fluor provided personnel to support

the Army’s Force Protection Screening Cell at Bagram, and this included providing badges to

those approved by the Army and providing personnel at Entry Control Points overseen by the

military. The Army vetted and was responsible for deciding whether to approve the issuance of


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badges. If the Army gave approval, Fluor issued the badges to the particular individual. Fluor’s

performance of these functions was within the scope of the LOGCAP IV contract.




       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.
                                                                              Digitally signed by
                                                    WEINDRUCH.LINDS WEINDRUCH.LINDSAY.ANN.126
                                                    AY.ANN.1263735656 3735656
Executed on: 09 July 2020                                             Date: 2020.07.09 14:20:09 -05'00'
                                                    Lindsay Weindruch




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                            EXHIBIT 2




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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

Charlotte Loquasto, et al.,                       §
                                                  §        Civil Action No. 3:19-cv-01455-B
v.                                                §       (Consolidated with Civil Action No.
                                                  §                3:19-cv-01624-B)
Fluor Corporation, Inc., et al.                   §




     DECLARATION OF LIEUTENANT GENERAL (RETIRED) MICK BEDNAREK

1.     My name is Mick Bednarek, Lieutenant General (Retired), U.S. Army. I currently serve

as Vice President for Fluor Government Group Contingency Operations.

2.     I have personal knowledge of the facts stated in this declaration, and if called as a

witness, could competently testify to them.

3.     I am aware that lawsuits were filed against Fluor arising out of a suicide bombing attack

at Bagram Airfield on November 12, 2016. At the time of this attack, Fluor was performing

essential support services at Bagram Airfield, including supporting the military’s force protection

screening cell and security functions, for the U.S. Army under Contract No. W52P1J-07-D-0008,

known as the “LOGCAP IV Contract.”

4.     In this declaration I provide factual information regarding the essential role that

contractors such as Fluor serve for the U.S. military and the integration of the LOGCAP

contractor—by design and necessity—within the Army’s “total force.”




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I.     Background

5.     I retired from the U.S. Army in 2015 after nearly 40 years of active commissioned

service. During my career in the Army I served in a number of command roles, including in the

recent wars in Iraq and Afghanistan. I highlight below some of my experience.

6.     From May 2013 through my retirement in 2015, I served as the U.S. Army’s Chief of the

Office of Security Cooperation, U.S. Embassy, Baghdad, Iraq. In this role I was the highest

ranking American military official in Iraq. I led all U.S. military activities, foreign military

sales, and foreign military financing in support of strategic investment, foreign policy, and

operational readiness of the Iraqi Security Forces. I directed all Security Cooperation activities

with U.S. Coalition partners (Middle East, European, Pacific) and Strategic Framework

Agreement issues with host nation equities.

7.     From April 2011 through April 2013, I was the Commanding General, First United States

Army. I was responsible for the training, readiness, oversight, and deployability of more than one

half million men and women assigned to the National Guard and U.S. Army Reserve Forces

across the United States and territories. I coordinated with 50 State Governors and State Adjutant

Generals for resource requirements and managed a $28M training budget for exercise and

simulation development.

8.     From June 2008 through March 2011, I was the Commanding General, Division East,

First United States Army. I developed and managed all Army National Guard and U.S. Army

Reserve Force training, exercises, and deployments to Iraq, Afghanistan, and other global

contingencies for 23 States. I also validated tactical and operational readiness for state and

national crisis response capability of all organizations.

9.     From 2005 through 2008, I served as Deputy Commanding General (Operations), and

then Commanding General, 25th Infantry Division, Schofield Barracks, Hawaii. I was


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responsible for the readiness, welfare, training, and personnel management of 14,000 Soldiers,

families, and civilian employees. During this three year tour, the Division served for 15 months

in northern Iraq requiring principal oversight of all security, combat operations, complex civil-

military activities, crisis response actions, and contingency planning.

II.    Contractors on the Battlefield Are Essential to Military Success.

10.    Civilian contractors have played a critical role in supporting the U.S. military throughout

this country’s history. Over the past 30-40 years, however, as the size of the active force has

drawn down from well over a million to roughly half a million, contractors have become even

more essential to the military’s operational readiness.

11.    In today’s military, contractors such as Fluor are considered part of the Army “total

force.” Stated simply, today’s military cannot fight and sustain a war or long-term contingency

operation without contractor support.

12.    This is especially true in dynamic and unstable environments, such as the hostile

environment that has existed in Afghanistan over the past two decades. Since 9/11 and the U.S.

invasion of Afghanistan that followed, the United States has had an ongoing presence in

Afghanistan, and U.S. troops have faced the constant threat of hostilities from the Taliban and

other enemy organizations.

13.    As a senior military commander with responsibilities for Army operations and personnel

in Afghanistan during parts of these engagements, I viewed contractors as critical to mission

success. In fact, I considered contractor support as functionally the equivalent of an Army

Component. In Army parlance, the Army has three Components: Active Duty Army, referred to

as “Compo 1”; the National Guard, referred to as “Compo 2;” and the Army Reserve, referred to

as “Compo 3.” During the military drawdown of forces, there was a deliberate effort to shift

functions from Compos 1, 2, and 3 to what is often referred to as “Compo 9”—i.e., contractor


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support within the Logistics Augmentation Civil Augmentation Program, or “LOGCAP,” which

I explain in more detail below.

III.   The LOGCAP Contract

14.    During my time as a military commander I gained an in-depth understanding of the role

played by LOGCAP Contractors in support of military missions in the Middle East, including

Afghanistan.

15.    The fundamental purpose of the LOGCAP Contract, as set forth in Army Regulations and

guidance, is to utilize civilian contractors to augment the military force and to act as “force

multipliers,” thereby freeing up uniformed soldiers to perform combat missions.

16.    By its design, the LOGCAP Contract integrates contractor capabilities within the “total

force” in order to fulfill an operational commander’s requirements. Such requirements can

include a wide range of essential logistical support functions.

17.    One example of such a requirement performed by Fluor in Afghanistan is support of the

military’s “Force Protection Screening” function. Under the LOGCAP IV Contract, Task Order

0005, Fluor personnel augment the military’s screening program and work side-by-side with

military personnel to carry out the mission. Fluor also provides support personnel at certain

Entry Control Points (“ECPs”) that are overseen by military personnel. In addition, the U.S.

military trains Fluor personnel to act as escorts on the base.

18.    I have personally visited Bagram Airfield and seen firsthand how Fluor personnel carry

out this requirement, working closely alongside military personnel at Entry Control Points and

other screening facilities. I am also very familiar with the importance of this particular support

function to the safety and security of any Forward Operating Base (“FOB”), having traveled to

and been stationed at many such FOBs. Under military doctrine, the military alone is responsible

for the force protection at each FOB, and the military exercises total control over who is allowed


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access to any FOB. But the military cannot successfully carry out its responsibilities, including

its force protection responsibilities, without the support provided by contractors such as Fluor.

19.    As a senior military commander, I routinely educated my team members about the critical

role of LOGCAP support services. This included during pre-deployment training exercises. In

2003-2005, I was the Commander of the Operations Group that ran the Army’s Joint Readiness

Training Center, at Ft. Polk, LA. Part of my responsibility was to run mission rehearsal exercises

for troops preparing for deployment to the Middle East. Because I understood that the LOGCAP

contractor would need to be integrated within the military’s operations on the battlefield, I

always included contractors/civilians on the battlefield (“COBs”) within my training exercises.

Doing so forced commanders to recognize the critical role played by contractors, and allowed

them to learn to deal with the full picture and complexity of the battlespace—i.e., the entirety of

the team they would be utilizing in theater. These training exercises illustrated, again, that

contractors were and are a part of the “total force” in contingency environments such as

Afghanistan.

20.    As a commander I also educated my team members that mission success requires very

close coordination between military commanders and the LOGCAP contractor. While the

contractor received direction via appropriate contracting channels, the operational commander’s

intent and guidance drives the requirements that are fulfilled by the LOGCAP contractor. In my

experience, both by design and by necessity, military personnel and LOGCAP contractors,

including Fluor personnel at Bagram Airfield, must work closely together, as an integrated unit,

with a unity of mission and purpose.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




Executed on:   8 July 2020
                                                            Mick Bednarek




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                             EXHIBIT 3




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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

Charlotte Loquasto, et al.,                      §
                                                 §         Civil Action No. 3:19-cv-01455-B
v.                                               §        (Consolidated with Civil Action No.
                                                 §                 3:19-cv-01624-B)
Fluor Corporation, Inc., et al.                  §




                              DECLARATION OF RONALD RILEY

1.     My name is Ronald Riley. I am currently employed as the Director, Prime Contract

Management for Fluor.

2.     I have personal knowledge of the facts stated in this declaration, and if called as a

witness, could competently testify to them.

3.     I am aware that lawsuits were filed against Fluor arising out of a suicide bombing attack

at Bagram Airfield on November 12, 2016. I worked for Fluor at Bagram Airfield beginning in

2010, through 2017, and again beginning in 2018 through the present. At the time of this attack, I

was at Bagram, serving in my role as Director, Prime Contract Management for Fluor. Fluor was

performing essential support services at Bagram Airfield, including supporting the military’s

force protection screening cell and security functions, for the U.S. Army under Contract No.

W52P1J-07-D-0008, known as the “LOGCAP IV Contract.”

4.     In this declaration I provide factual information regarding the LOGCAP IV Contract,

Fluor’s performance of essential support services for the U.S. military under that contract at

Bagram Airfield, and Fluor’s close coordination with and integration with the U.S. military

during its performance.



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I.     Professional Background

5.     I have worked in the government contracts field since 1997. Prior to my employment

with Fluor, I was a Contracting Officer for the U.S. Air Force.

6.     I have been employed by Fluor since August 2010. I was initially the Contracts Manager,

and later promoted to Director, Prime Contract Management. Across this entire time period, I

was in Bagram (2010 through 2017, and again 2018 through present), and across this entire time

period I have had the same basic contract responsibilities described in this declaration.

7.     At the time of the November 2016 incident, and today, I serve as the Director, Prime

Contract Management for Fluor. In that role I oversee Fluor’s contract functions, under the

LOGCAP IV Contract, for the entire Northern Afghanistan region, to include Bagram Airfield.

8.     My job is to interface with government and military personnel and to act as a liaison

between Fluor and the supported military units. To carry out this responsibility, I worked closely,

on a daily basis, with military Administrative Contracting Officers (“ACOs”), Procuring

Contracting Officers (“PCOs”), LOGCAP Support Officers (“LSOs”), and various other military

representatives, including personnel within the Defense Contracting Management Agency

(“DCMA”) and Army Contracting Command (“ACC”).

II.    The LOGCAP Program and the LOGCAP IV Contract

9.     In 2007, the Army awarded Fluor Task Order 0005 under Contract No. W52P1J-07-D-

0008, the fourth-generation Logistics Civil Augmentation Program contract, which is referred to

as the “LOGCAP IV Contract.”

10.    The LOGCAP IV Contract is an indefinite-delivery/indefinite-quantity (“ID/IQ”)

contract. Under the LOGCAP IV Contract, the Army was authorized to issue task orders

(“TOs”) to Fluor on a cost-plus-award-fee, cost-plus-fixed-fee or fixed-price basis to support the




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Army’s current and programmed force by performing selected services in wartime and other

operations.

11.    Under Task Order 0005, Fluor provides life support and sustainment services to U.S. and

Coalition Forces in Afghanistan, including at Bagram Airfield. Fluor provided these services

prior to, at the time of, and following the suicide attack on November 12, 2016.

12.    The LOGCAP IV Contract and TOs issued thereunder, including Task Order 0005, were

“rated orders” under the Defense Priorities Allocation System (“DPAS”) regulations and the

Defense Production Act of 1950. Under the DPAS regulations, Fluor was required to accept and

perform LOGCAP IV requirements in accordance with the contractually-specified delivery

schedule.

13.    The LOGCAP IV Contract “Scope of Work” (Section 01.00) includes a broad range of

essential sustainment support services for the U.S. military and Coalition Forces within

Southwest Asia. As the contract states, the Army required Fluor to perform “Base Life Support

(BLS) services” and “Theater Transportation Mission (TTM) functions.” Consistent with this

scope of work, Fluor has performed a variety of essential support services at Forward Operating

Bases (“FOBs”) in Afghanistan. This includes, for example, augmenting the U.S. military’s

performance of its force protection screening program, a service that Fluor performed at Bagram

Airfield, described further below.

14.    The LOGCAP IV Contract, by its express terms, required very close coordination of

efforts between Fluor and U.S. military forces. For example, Section 01.00 of the contract

explains that “the ever changing nature of combat support requirements” within a dynamic,

contingency environment, necessarily results in frequent changes over the period of

performance.




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15.    As noted above, the LOGCAP IV Contract is the fourth generation contract within the

LOGCAP program. The LOGCAP program was originally created by the Army in 1985. Policy

for implementation and execution of LOGCAP was set forth in Army Regulation 700-137 (“AR

700-137”), titled “Logistics Civil Augmentation Program (LOGCAP).”

16.    Attached as Exhibit 1 is a true and correct copy of the 23 March 2017 version of AR 700-

137.

17.    AR 700-137 repeatedly refers to the need to “integrate” the LOGCAP contractor within

the military operations and overall mission. See, e.g., 3-2.b (“Integrate LOGCAP services into

[Operations Plans] and [Operations Orders].”); 3-3.d (“[Army Material Command] will establish

a [Program Management Office] to integrate, coordinate, and synchronize day-to-day LOGCAP

administration, planning, management, training, and execution.”); 4-1 (“[Program Management

Office] for LOGCAP will develop collaborative plans to manage and integrate LOGCAP

contractor capabilities in support of [Army Service Component Command] planning, exercises,

and contingency operations.”); id. (“A key program component is the integration of

organizations and agencies to support program planning and contract execution such as DCMA,

USACE, USARC, LOGCAP Support Brigade, CSB, Army Field Support Brigade, and the

LOGCAP contractors.”); 4-2 (“Planning is critical for the integration and management of

LOGCAP-contracted sustainment services in support of deployed forces during contingency

operations.”).

18.    Based on my experience, such integration is a reality during contract execution, and it is

critical to the success of the LOGCAP IV Contract. In my experience, Fluor’s performance of

services under the LOGCAP IV Contract at Bagram Airfield was integrated into the military’s




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operations. Fluor worked closely with the military, on a day-to-day basis, in order to coordinate

and synchronize execution of Fluor’s essential support services.

III.    The Military Ensures LOGCAP IV Requirements Are Within Scope.

19.     The typical manner in which new requirements are added to the LOGCAP IV Contract

illustrates Fluor’s integration within the military’s operations. It also illustrates that Fluor is only

directed to perform services within the scope of the contract.

20.     Under the contract, there is a formal process for requesting new services and adding them

to the contract, along with necessary funding and formal authorization to proceed. I describe this

process, in general terms, below. That said, the practical reality on the ground is that, along with

this formal process, there is an informal, real-time sharing of information between U.S. military

and Army contract personnel and Fluor, and a constant dialogue between the various members of

“Team LOGCAP,” which consists of Fluor and various military and Army civilian contract

representatives. This constant dialogue and collaboration between Fluor and the

military/contractual apparatus enables the process to work smoothly and, ultimately, ensures

mission success.

21.     The typical process for adding new requirements under the contract is as follows: When a

military unit intends to request an additional LOGCAP support service, even before an official

request is made, Fluor is typically notified and immediately engages in a dialogue with the

requesting unit to understand the requirement, and to educate the unit as necessary on the range

of available LOGCAP capabilities. Fluor typically interfaces with LSOs (military contracting

personnel) to facilitate a clear understanding of the proposed new requirement.

22.     Working with an LSO, the military unit must then submit a request to an ACO. In turn,

the ACO reviews the request, ensures (among other things) that the request falls within the scope

of the contract, and then interfaces with Fluor contracting personnel, including myself, to request


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that Fluor develop a cost estimate for the requested service. Fluor develops such estimate. Along

the way, Fluor personnel continue to work closely with ACOs and other military personnel to

ensure that there is a meeting of the minds regarding the new requirement. If the military decides

to proceed with the new requirement, funding is secured and, ultimately, a formal authorization

to proceed is issued by the PCO to Fluor. At that point, Fluor begins performance of the new

requirement.

23.    As part of this process, it is the role of the ACO to confirm, in the first instance, that a

requested service is within the scope of the contract. Later on in the process, it is the ultimate

responsibility of the PCO, who provides formal contract direction to proceed, to ensure that all

new services are within the scope of the contract.

24.    In my experience, covering almost a decade in Bagram, including the time leading up to,

during, and after the November 2016 suicide bombing incident, at no time did any ACO or PCO

suggest any service being performed by Fluor was outside the scope of the contract. To the

contrary, the only indication from the ACOs and PCOs was that Fluor’s performance was always

within the scope of the contract. This includes Fluor’s performance of screening and related

services that are challenged in the above-captioned lawsuit.

25.    In my experience, carrying out the above-described process requires constant

communication between Fluor and military personnel. This includes meetings between Fluor and

military personnel on a daily basis, as well as frequent discussions over phone and email.

26.    In addition to the process described above for adding new contract requirements, Fluor

personnel also work closely with the military for many other purposes to ensure mission success.

This includes the monitoring and evaluation of Fluor’s performance, which entails daily

oversight and communication, as well as frequent meetings. In addition, Fluor submits reports to




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the military (some on a daily or weekly basis) to ensure that there is a real-time, free flow of

information between Fluor and the military. Again, in my experience this close collaboration

between Fluor and the military is essential, especially within a dynamic and hostile environment

such as that at Bagram over the past decade. Finally, as further illustration of the close

collaboration and integration of Fluor within the military’s operations, I and other from the Fluor

team at times receive classified briefings from the U.S. military on such topics as troop

movement. Such briefings are part of the continuous dialogue between Fluor and the military

that is essential to perform under the contract.

IV.    Fluor’s Augmentation of Military Force Protection Screening Cell At Bagram
       Airfield

27.    Under Task Order 0005, PWS § 5.22.03, Fluor “provide[s] personnel to operate Military

Force Protection Screening.” Within the scope of the contract provision, Fluor augments the U.S.

military’s Locally Employed Personnel (LEP) Force Protection Screening Program. In addition,

Fluor provides personnel at certain Entry Control Points (“ECPs”) that are overseen by military

personnel. In addition, the U.S. military trains Fluor personnel to act as escorts on the base.

28.    Fluor’s performance of these augmented functions to support the military’s force

protection responsibility is deemed by the military to be an essential element in the overall force

protection plan.

29.    In performing these functions, Fluor personnel work shoulder to shoulder with military

personnel. Such close, constant interaction and collaboration between Fluor and the military is

required by the contract. It is also a practical necessity in executing the military’s Force

Protection Screening.




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                             EXHIBIT 1




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                                                Army Regulation 700–137




                                                Logistics



                                                Logistics Civil
                                                Augmentation
                                                Program




                                               Headquarters
                                               Department of the Army
                                               Washington, DC
                                               23 March 2017


                            UNCLASSIFIED

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    SUMMARY of CHANGE
AR 700–137
Logistics Civil Augmentation Program

This regulation is certified current as of 23 March 2017. Aside from the following administrative changes, no other changes
were made to certify the currency of this regulation—

o    Updates the Department of the Army signature authority (title page).

o   Changes the DALO–ORC to DALO–OPS–C (throughout).




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 Headquarters                                                                               *Army Regulation 700–137
 Department of the Army
 Washington, DC
 23 March 2017                                                                              Effective 28 January 2013
                                                                Logistics
                                       Logistics Civil Augmentation Program
                                                prescribes policies, procedures, and respon-    mand and local forms are prohibited with-
                                                sibilities for a disciplined approach to man-   out prior approval from the Headquarters,
                                                aging and using contractors who deploy to       Department of the Army, Deputy Chief of
                                                support Army requirements.                      Staff, G–4 (DALO–OPS–C), 500 Army
                                                                                                Pentagon, Washington, DC 20310–0500.
                                                Applicability. This regulation applies to
                                                the Active Army, the Army National              Suggested improvements. Users are
                                                Guard/Army National Guard of the United         invited to send comments and suggested
                                                States, and the U.S. Army Reserve, unless       improvements on DA Form 2028 (Recom-
                                                otherwise stated.                               mended Changes to Publications and Blank
                                                                                                Forms) directly to the Deputy Chief of
                                                Proponent and exception authority. Staff, G–4 (DALO–OPS–C), 500 Army
                                                The proponent for this regulation is the Pentagon, Washington, DC 20310–0500.
                                                Deputy Chief of Staff, G–4. The proponent
                                                has the authority to approve exceptions or Committee continuance approval.
History. This regulation was certified          waivers to this regulation that are consistent AR 15–1 requires the proponent to justify
                                                with controlling law and regulations. The establishing/continuing committee(s), co-
current on 23 March 2017. Aside from an
                                                proponent may delegate this approval au- ordinate draft publications, and coordinate
updating the Department of the Army sig-
                                                thority, in writing, to a division chief within changes in committee status with the U.S.
nature authority (title page) and changing
                                                the proponent agency or its direct reporting Army Resources and Programs Agency,
DALO–ORC to DALO–OPS–C (through-
                                                unit or field operating agency, in the grade Department of the Army Committee Man-
out), no other changes were made to certify
                                                of colonel or the civilian equivalent. Activ- agement Office (AARP–ZA), 9301 Chapek
currency of this regulation. No content has
                                                ities may request a waiver to this regulation Road, Building 1458, Fort Belvoir, VA
been changed.
                                                by providing justification that includes a 22060–5527. Further, if it is determined
Summary. This regulation designates             full analysis of the expected benefits and that an established “group” identified
the Logistics Civil Augmentation Program        must include formal review by the activ- within this regulation, later takes on the
as a Department of the Army Regulatory          ity’s senior legal officer. All waiver re- characteristics of a committee, as found in
Program and prescribes policy for imple-        quests will be endorsed by the commander the AR 15–1, then the proponent will fol-
mentation and execution. This Program is        or senior leader of the requesting activity low all AR 15–1 requirements for establish-
intended to support U.S. military, and under    and forwarded through their higher head- ing and continuing the group as a commit-
appropriate circumstances, multinational        quarters to the policy proponent. Refer to tee.
forces, and other Government and/or non-        AR 25–30 for specific guidance.
                                                                                                Distribution. This publication is availa-
Government agencies. This regulation de-
                                                Army internal control process. This ble in electronic media only and is intended
scribes existing program planning and man-
                                                regulation contains internal control provi- for command levels C, D, and E for the Ac-
agement concepts, responsibilities, and pol-
                                                sions in accordance with AR 11–2 and iden- tive Army, the Army National Guard/Army
icy and will evolve as Army doctrine ma-
                                                tifies key internal controls that must be National Guard of the United States, and
tures. Logistics Civil Augmentation Pro-
                                                evaluated (see appendix D).                     the U.S. Army Reserve.
gram tactics, techniques, and procedures
are documented in ATTP 4–10 and specific Supplementation. Supplementation of
theater policies and procedures. AR 715–9 this regulation and establishment of com-



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Chapter 1
Introduction

1–1. Purpose
This regulation establishes the Logistics Civil Augmentation Program (LOGCAP) as a Department of the Army (DA)
Regulatory Program to augment the force by providing a service capability to meet externally driven operational require-
ments for rapid contingency augmentation support. The LOGCAP plans for and executes contracted support services in
conjunction with the Army Field Support Brigade and contracting support brigade (CSB) for deployed forces performing
missions directed or supported by the Department of Defense (DOD) during global contingency operations.

1–2. References
See appendix A.

1–3. Explanation of abbreviations and terms
See the glossary.

1–4. Responsibilities
Responsibilities are listed in chapter 2.

Chapter 2
Responsibilities

2–1. Assistant Secretary of the Army for Installations, Energy and Environment
The ASA (IE&E) will identify, formulate, coordinate, and disseminate environmental policy and guidance regarding
LOGCAP.

2–2. Assistant Secretary of the Army for Acquisition, Logistics and Technology
The ASA (ALT) will—
a. Identify, formulate, coordinate, and disseminate acquisition policy and guidance.
b. Advise U.S. Army Training and Doctrine Command (TRADOC) regarding integration of LOGCAP information, as a
subset of operational contract support (OCS), in professional military education (PME) and other training and exercises.
c. Assist TRADOC in the preparation of LOGCAP-related doctrine.

2–3. Deputy Chief of Staff, G–1
The DCS, G–1 will—
a. Include LOGCAP policies and procedures in theater administrative planning and force programming.
b. Assist the U.S. Army Materiel Command (AMC) in determining LOGCAP personnel service capabilities in support of
the total Army analysis (TAA) process.

2–4. Deputy Chief of Staff, G–3/5/7
The DCS, G–3/5/7 will—
a. Incorporate LOGCAP force enabler capabilities into Planning, Programming, Budgeting, and Executing System
(PPBES), as applicable.
b. Serve as the Headquarters, Department of the Army (HQDA) staff lead for LOGCAP nonmilitary individual replace-
ment deployment operations (N-m IRDO) sites and certify scope and quality of deployment process.
c. Assist the Deputy Chief of Staff, G–4 (DCS, G–4) in formulating LOGCAP policy and disseminating guidance to Army
service component commands (ASCCs).
d. Assist AMC in determining LOGCAP capabilities in support of the TAA process.

2–5. Deputy Chief of Staff, G–4
The DCS, G–4 will—
a. Serve as HQDA proponent for LOGCAP and office of primary responsibility for program policy, guidance, and direc-
tion.



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b. Serve as the proponent and HQDA point of contact for the management decision evaluation package (MDEP) for
LOGCAP.
c. Serve as the approval authority for the use of LOGCAP for global contingency operations.
d. Assist AMC in determining LOGCAP sustainment capabilities in support of the TAA process.
e. Assist AMC in conducting the Annual Logistics Civil Augmentation Program Worldwide Requirements Meeting
(LWRM) to coordinate, prioritize, and synchronize LOGCAP support to ASCC operations plan (OPLAN) development,
training, and exercises.
f. Coordinate LOGCAP contractor-operated N-m IRDO with the DCS, G–3/5/7 (DAMO–ODM); the Commander, U.S.
Army Medical Command (MEDCOM); the Commander, Human Resources Command (HRC); and the Executive Director,
program management office (PMO) for LOGCAP at least 30 days prior to implementation.
g. Facilitate staffing and approval of requests for exceptions or waivers from standard procedures as contained in this
regulation.

2–6. Deputy Chief of Staff, G–8
The DCS, G–8 will facilitate the funding of validated and prioritized LOGCAP requests in the Army Requirement and
Resourcing Board and PPBES process.

2–7. Assistant Chief of Staff for Installation Management
The ACSIM will—
a. Consider LOGCAP implications when developing the ACSIM missions, policies, plans, programs, and support require-
ments.
b. Review appropriate Army regulations regarding LOGCAP for potential impact on ACSIM responsibilities.

2–8. The Surgeon General and/or Commander, U.S. Army Medical Command
TSG and the Commander, MEDCOM will—
a. Assess the effect of LOGCAP on health service support policies, programs, and requirements during contingency op-
erations.
b. Assist AMC in determining LOGCAP health service capabilities in support of the TAA process.
c. Provide technical expertise and medical standards under LOGCAP task orders.

2–9. Chief of Engineers
The COE will—
a. Assess the effect of LOGCAP on theater construction policies, programs, and requirements.
b. Assist AMC in determining LOGCAP engineering capabilities in support of the TAA process.

2–10. Chief, Army Reserve
The CAR will—
a. Advise Army staff in formulating and developing DA policies affecting support to LOGCAP.
b. Man and resource a LOGCAP Support Brigade capable of meeting the demand for LOGCAP support.

2–11. The Judge Advocate General
TJAG will—
a. Provide prompt legal review to the DCS, G–4 of requests for initial use of LOGCAP.
b. Assist with training on issues such as contracting, funding, personnel, and the Defense Base Act.

Advise ASCCs on funding and requirements development pertaining to LOGCAP task orders.

2–12. Commanding General, U.S. Army Materiel Command
The CG, AMC will—
a. Serve as the lead agent for overall LOGCAP administration, management, and execution.
b. Establish and maintain a PMO for LOGCAP to manage and synchronize program training, planning, execution, and
oversight.
c. Determine manning requirements for a LOGCAP Support Brigade capable of meeting the demand for LOGCAP sup-
port, in coordination with the Chief, Army Reserve and/or CG, U.S. Army Reserve Command (USARC).
d. Assist TRADOC with formulating concepts and doctrine related to LOGCAP.


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e. Assist TRADOC, Defense Acquisition University, and other appropriate organizations with incorporating LOGCAP-
related training into programs of instruction.
f. Coordinate mission-related internal training for personnel involved with LOGCAP to include the LOGCAP support
officers (LSOs).
g. Coordinate training, planning, and LOGCAP execution with external agencies.
h. In coordination with the DCS, G–4, conduct an annual LWRM to coordinate, prioritize, and synchronize LOGCAP
support to ASCC OPLAN development, training, and exercises.
i. Provide LOGCAP forward presence at key commands and installations to assist with program coordination, integration,
planning, and training, as required.
j. Coordinate the integration of LOGCAP into ASCC OPLANs and operation orders (OPORDs).
k. Coordinate the inclusion of LOGCAP as a subset of OCS into Joint and Army exercises, as appropriate.
l. Provide LOGCAP assistance and training assessment visits.
m. Validate contractor readiness, capabilities, and risk mitigation plans.
n. Provide or coordinate contracting and contract administration services in support of the program.
o. Coordinate technical assistance, expertise, and early assessments from U.S. Army Corps of Engineers (USACE) or
other design-construction agency, as needed, to ensure consistent and proper approach to real property transfer and subse-
quent operation and maintenance.
p. Coordinate requests for military construction services with USACE as specified in DODD 4270.5.
q. Coordinate forward LOGCAP management and contractor equipment and personnel time-phased force deployment
data with ASCCs. This applies to Government-provided transportation, as well as contractor-provided transportation.
r. Coordinate transportation and life support for forward LOGCAP management personnel with the supported operational
commander.
s. With the assistance of the DCS, G–1 and the ASA (ALT), ensure compliance with the Defense Federal Acquisition
Regulation Supplement on using the syncronized predeployment and operational tracking (SPOT) to account for and verify
identity of LOGCAP contractor personnel during contingency operations.
t. Incorporate LOGCAP observations, insights, and lessons (OILs) into the formal Army Lessons Learned Program in
accordance with AR 11–33.
u. Provide LOGCAP contract support capability data in support of the TAA process.
v. Coordinate reimbursement to USACE for all LOGCAP support, as applicable.

2–13. Commanding General, U.S. Army Training and Doctrine Command
The CG, TRADOC will—
a. Include LOGCAP policies and procedures as a part of OCS in the development of Army concepts and doctrine.
b. Include LOGCAP policies and procedures as a part of OCS in TRADOC school instruction and training publications.

2–14. Commanding General, U.S. Army Corps of Engineers
The CG, USACE will—
a. Provide advice and assistance on construction and engineering support services, as required, to include being a member
of the forward LOGCAP management team during planning, exercises, and contingencies.
b. When required, provide a construction contracting officer’s representative (COR) for staffing, planning, exercise sup-
port, and during contingencies.
c. Support LOGCAP-related exercises, as appropriate.
d. Provide engineering technical expertise and construction standards under LOGCAP task orders to include design, con-
struction, and engineering services required for military construction, maintenance, or repairs, as requested, in support of
planning, exercises, and contingencies.
e. Provide administrative contracting officer support, as delegated, in writing, by the LOGCAP procurement contracting
officer, for LOGCAP-related military construction and facility repair contracts.
f. Perform project management and prepare a program management plan to specify all roles and responsibilities in support
of project execution under LOGCAP for all military construction.
g. Manage funds for military construction projects to include upward reporting of project expenditures and obligations as
mandated by Congress and others.
h. Coordinate with AMC all USACE engineering and construction support for nonmilitary construction work performed
under LOGCAP.
i. Coordinate all reimbursable USACE costs for applicable LOGCAP support with AMC.



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2–15. Commander, U.S. Army Reserve Command
The Commander, USARC will—
a. Submit LOGCAP Support Brigade manning requirements to the DCS, G–3/5/7 for inclusion in the TAA process.
b. Man and resource a LOGCAP Support Brigade capable of meeting the demand for LOGCAP support.
c. Incorporate AMC LOGCAP-specific training guidance into the overall LOGCAP Support Brigade training strategy.
d. Plan for and provide LSOs in support of LOGCAP training, exercises, and contingencies in coordination with AMC.
e. Ensure timely alert, training, and mobilization processes are implemented in compliance with Secretary of Defense
policies on employment of Reserve forces to ensure no degradation of LOGCAP support.

2–16. Commanders, Army service component service commands
The Commanders, ASCCs will—
a. Conduct OCS planning; if LOGCAP is determined to be the course of action, integrate LOGCAP in the contract support
integration plans (CSIPs) and contractor management plans (CMPs), in support of geographic combatant commander
(CCDR) guidance and established DOD and Army policy (see AR 715–9). Figure B–1 demonstrates the process for ASCCs
and requiring activities to consider prior to planning for or requesting initial use of LOGCAP to meet mission requirements.
b. Incorporate force protection support to the forward LOGCAP management team and LOGCAP contractors in plans and
operations.
c. Incorporate health service support to the forward LOGCAP management team and LOGCAP contractors in plans and
operations.
d. Integrate LOGCAP planners in the review and development of OPLANs and/or OPORDs.
e. In coordination with AMC, include forward LOGCAP management and contractor personnel and equipment in time-
phased force development data that are identified as a force capability in applicable OPLANs and/or OPORDs in accord-
ance with Chairman of the Joint Chiefs of Staff Manual 3122.02C. This applies to Government-provided transportation,
as well as contractor-provided transportation.
f. Provide recommendations on force structure planning based on use of LOGCAP.
g. Ensure subordinate units nominate technically qualified CORs, to be appointed by the cognizant contracting officer,
and track appointed CORs for all LOGCAP services provided.
h. Include LOGCAP activities in situation reports and other summary documents, as applicable.
i. Plan for the incorporation of LOGCAP participation in applicable Joint and Army exercises in which the command
participates.
j. Identify and program personnel, equipment, training, and funding requirements through PPBES.
k. Comply with DFARS on using SPOT to account for and verify identity of LOGCAP contractor personnel during con-
tingency operations.
l. Ensure subordinate Army force command(s) compliance with this regulation when the ASCC is not serving as the Army
force headquarters in ongoing operations.
m. Provide LOGCAP OILs to AMC for incorporation into formal Army Lessons Learned Program in accordance with
AR 11–33.
n. Ensure AMC is notified of ASCC and higher level changes to orders and directives affecting LOGCAP or overall OCS.

Chapter 3
Program Administration

3–1. Concept
The LOGCAP capabilities are to—
a. Provide a single organization responsible for the central management of LOGCAP to enhance planning, training, re-
quirements development assistance, and rapid augmentation of base support and logistics services through contract instru-
ments during program execution.
b. Establish a standing team of LOGCAP Government subject matter experts who can deploy rapidly to provide the core
structure for centralized LOGCAP execution.
c. Promulgate knowledge and information regarding LOGCAP capabilities through education and training.
d. Provide a viable option for logistics and base support services for contingency planning and operations.

3–2. Base program objectives
Base program objectives are to—
a. Provide LOGCAP-specific training, education, and exercise support as a subset of OCS.


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b. Integrate LOGCAP services into OPLANs and OPORDs.
c. Coordinate contracted logistics and base services in support of global contingencies to include mobilization, when re-
quested.
d. Conduct overall program management.

3–3. Program authority
a. Program type. LOGCAP is a DA Regulatory Program to provide full-spectrum logistics and base support services
through the use of contracts. LOGCAP is a major subset of OCS as described in AR 715–9. LOGCAP requires support
from other organizations such as the Defense Contract Management Agency (DCMA), Defense Contract Audit Agency,
AMC, USACE, U.S. Army Reserve, requiring activities, and/or designated supported units to fully execute its mission.
b. Program proponent. DCS, G–4 is the Army proponent for LOGCAP and will serve as the office of primary responsi-
bility for program policy, guidance, and direction. Additionally, the DCS, G–4 will serve as the LOGCAP MDEP program
manager proponent and approval authority for the use of LOGCAP services.
c. Program lead agent. DCS, G–4 designates AMC as the lead agent for overall LOGCAP administration, management,
and execution, to include the following:
(1) Hosting, in conjunction with the DCS, G–4, an annual LWRM to integrate, synchronize, and prioritize ASCC-related
LOGCAP support plans and training requirements.
(2) Conducting an annual LOGCAP board of directors (BOD) to review and approve the results and recommendations of
the LWRM and strategic direction of LOGCAP.
d. Program management office. AMC will establish a PMO to integrate, coordinate, and synchronize day-to-day
LOGCAP administration, planning, management, training, and execution. PMO will provide LOGCAP forward presence
at key commands and installations to assist with program coordination, integration, planning, and training. Coordination
will include the integration of LOGCAP into ASCC OPLANs and OPORDs through—
(1) Supporting ASCC OPLAN and/or OPORD development.
(2) Developing and managing LOGCAP worldwide and regional contingency support plans in support of ASCC OPLANs.
(3) Advising commanders and requiring activities on the use, reduction, transition, and discontinuation of LOGCAP sup-
port.

3–4. Force structure adjustments
For current and out year planning and programming, LOGCAP augmentation to Army force structure will be based on
awarded contingency contracts and contingency clauses included in peacetime contracts. The LOGCAP augmentation
used to meet Army requirements will be accounted for in the DCS, G–4 Strategic Partner Analysis.

3–5. Program funding
a. AMC will input their LOGCAP resource requirements through PPBES. The DCS, G–4 will monitor and assist AMC
in their submissions and will incorporate LOGCAP funding and manpower requirements into the program objective mem-
orandum in accordance with applicable regulations, policies, and guidance.
b. The Army will fund the base program through the LOGCAP MDEP using operations and maintenance, Army funds.
Base program funding will apply to—
(1) PMO for LOGCAP table of distribution and allowances, Government personnel salaries.
(2) PMO for LOGCAP operating and overhead costs to include travel, training, and facilities.
(3) LOGCAP support contract.
(4) LOGCAP performance contractor program management costs.
(5) LOGCAP support plans.
(6) LOGCAP training and exercise support participation.
c. Funding for contingency task order execution will not be included in the LOGCAP Base Program. Requiring activities
will be responsible for coordinating contingency support funding and must comply with the Antideficiency Act and all
other applicable fiscal law principles and regulatory guidance.

Chapter 4
Planning

4–1. Program planning
PMO for LOGCAP will develop collaborative plans to manage and integrate LOGCAP contractor capabilities in support
of ASCC planning, exercises, and contingency operations. PMO will provide a central management structure that manages


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baseline program functions to support ASCC requirements. A key program component is the integration of organizations
and agencies to support program planning and contract execution such as DCMA, USACE, USARC, LOGCAP Support
Brigade, CSB, Army Field Support Brigade, and the LOGCAP contractors.

4–2. Execution planning
Planning is critical for the integration and management of LOGCAP-contracted sustainment services in support of de-
ployed forces during contingency operations. The CSB will coordinate common contract support provided by the Army,
to include LOGCAP. The ASCC-aligned CSB will assist OCS planners in developing the ASCC and/or subordinate Army
Forces command-level CSIP in coordination with the ASCC and/or Army Forces Command G–4 and senior sustainment
command support operations officer. ASCCs will incorporate LOGCAP-contracted sustainment services into the ASCC
CSIP and the associated CMP portions of OPLANs and OPORDs, as prescribed in AR 715–9. Staff planners at all levels
must actively involve CSB and LOGCAP planners early on in the planning process to develop a responsive approach and
identify potential commercial sources of support. Planning for LOGCAP will enable AMC to—
a. Assist the ASCC through the CSB in the operational level planning for the use of contracted services, including
LOGCAP.
b. Determine LOGCAP support plan requirements.
c. Validate the integration of LOGCAP plans in existing OPLANs and OPORDs.

4–3. Annual Logistics Civil Augmentation Program Worldwide Requirements Meeting and board of
directors
a. The CG, AMC, in conjunction with the DCS, G–4, will conduct an annual LWRM to coordinate, prioritize, and syn-
chronize LOGCAP support to ASCC OPLAN development, training, and exercises. The scheduling of the LWRM must
allow for input to the program objective memorandum cycle.
b. The ASCCs will identify prioritized OPLAN development actions, as well as training and exercise events planned for
the next 36 months with associated cost estimates at the LWRM.
c. The LWRM will identify and prioritize LOGCAP support plans for review or development and prioritize LOGCAP
support to ASCC training and exercises.
d. The AMC will present the following LWRM prioritized outputs to the LOGCAP BOD for approval—
(1) The LOGCAP support to ASCC OPLAN review and development.
(2) The LOGCAP support plan review and development.
(3) The LOGCAP support to ASCC training and exercises.

4–4. Army service component command planning
LOGCAP, in coordination with the supporting CSB, will assist in ASCC CSIP and CMP development. The ASCCs, in
conjunction with CSB planners, must integrate LOGCAP into all ASCC plans development efforts. AR 715–9 defines
ASCC CSIP and CMP development responsibilities and provides general planning guidance for the use of contracted
support.

4–5. Logistics Civil Augmentation Program plans development process
a. LOGCAP can provide expansive contracted support capability during contingency operations through prioritized plan-
ning. LOGCAP planners will support the contingency and crisis action planning processes.
b. The PMO for LOGCAP will provide guidance and oversight for the contractor-developed LOGCAP support plans in
support of specific ASCC OPLANs and/or OPORDs based on LOGCAP BOD-approved priorities and available funding.
c. The PMO for LOGCAP, in coordination with AMC or the appropriate ASCC, will review and approve LOGCAP sup-
port plans.
d. The ASCCs will begin crisis action planning with the identification of a specific mission. The LOGCAP planners will
use existing LOGCAP support plans to assist ASCCs during crisis action planning and execution of contingencies.

4–6. Logistics Civil Augmentation Program support plans validation
The LOGCAP support plans will be validated through internal audits and exercises. AMC will assess the feasibility of
LOGCAP support plans to meet ASCC OPLAN requirements.




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Chapter 5
Doctrine and Training

5–1. General
a. The formal integration of key LOGCAP functions and capabilities into peacetime and predeployment training and PME
is essential to increasing proficiency, knowledge, and the effective use of LOGCAP during contingency operations. The
primary objectives of training and doctrinal development are to—
(1) Capture LOGCAP specific information across applicable Joint and Army doctrinal publications, as appropriate.
(2) Educate key leaders and units.
(3) Establish habitual relationships.
(4) Validate the integration of LOGCAP plans in existing OPLANs and/or OPORDs and CSIPs.
b. AMC will provide relevant OILs to TRADOC and other organizations, as required, in order to update, validate, and
expand existing LOGCAP-related doctrine. AMC will develop and implement an overall training strategy to integrate
LOGCAP operations into collective training events and exercises, selected individual training courses, and selected PME
courses. The training strategy will include elements of the LOGCAP team such as LSOs, acquisition personnel, legal, and
PMO for LOGCAP personnel.

5–2. Doctrine development
TRADOC, with the assistance and input from AMC, will incorporate LOGCAP-related organizational structure, tactics,
techniques, and procedures across all applicable publications. All LOGCAP-related information will be integrated as a
critical component of OCS doctrine.

5–3. Collective training
The ASCCs will incorporate LOGCAP training into Joint and Army training exercises and events, such as mission re-
hearsal exercises and command post exercises, whenever feasible. Additionally, LOGCAP training will be incorporated
into Mission Command Training Program and Combat Training Center training exercises and scenarios, as appropriate.
The key to training is establishing relevant and realistic objectives and goals that incorporate previously captured LOGCAP
OILs.

5–4. Individual training courses
The LOGCAP specific information, processes, and procedures will be incorporated into designated TRADOC courses (for
example, Operational Contract Support Course, Theater Logistics Studies Program, and COR Course), where appropriate.

5–5. Professional military education
TRADOC will incorporate LOGCAP-specific information into all OCS-related blocks of instruction in officer, warrant
officer, and noncommissioned officer Active Army and Reserve Component PME, as appropriate.

5–6. Contractor training
All deploying LOGCAP contractor personnel must complete predeployment training requirements in accordance with AR
715–9.

Chapter 6
Execution

6–1. General
LOGCAP supports scalable, ready, and responsible logistics and base support services by integrating contracted private
sector capabilities to fulfill the operational commander’s requirements. Operational commanders identify their require-
ments and request LOGCAP, as appropriate, to meet mission needs. The PMO for LOGCAP is the focal point for over-
seeing the program in coordination with requiring activities, contracting activities, contingency contract administration
service activities, and compliance organizations. Operational commanders determine the type, duration, and conditions for
LOGCAP services in a contingency.




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6–2. Requesting use of Logistics Civil Augmentation Program
The DCS, G–4 is the approval authority for the initial use of LOGCAP for global contingency operations. A LOGCAP
process flow chart that maps the predecisional process is at figure B–1. A sample request for initial use of LOGCAP is at
figure B–2.
a. Army organizations will use the following process to request approval for initial use of LOGCAP:
(1) Requiring activities identify contract support requirements and determine if providing such services are part of its
mission.
(2) The commander of the requiring activity will submit a request for LOGCAP support through the AMC PMO for
LOGCAP to the DCS, G–4. The request will include the following:
(a) Basic description of requested LOGCAP services.
(b) Unit(s) that will provide the COR(s).
(c) Identification of types of forces to be supported (for example, U.S. military forces, Government agencies, multinational
forces, host nation forces).
(d) Justification of how LOGCAP services meet mission requirements.
(e) Source and availability of funding for task order at startup.
(3) AMC will—
(a) Ensure request is within scope of contract.
(b) Perform legal review.
(c) Endorse and forward request to the DCS, G–4 for decision.
(4) DCS, G–4 will staff the request and provide decision to the requiring activity and AMC.
b. Requiring activities both internal and external to DOD are encouraged to follow the routing request process depicted in
figure B–3 to facilitate prompt consideration of requests for initial use of LOGCAP; the DCS, G–4 will ensure requests
incorporate the acquisition process depicted in figure B–4.
c. Significant deviations from approved requests must be submitted to the DCS, G–4 for authorization. Examples include
the following:
(1) Provision of services not in scope of approved request. For example, if the initial request is approved to provide base
life support, a new requirement for non-tactical wheel vehicle maintenance constitutes a major deviation requiring the
DCS, G–4 authorization.
(2) Provision of services to support non-DOD personnel or organizations. For example, if the initial request is approved
to provide services in support of DOD personnel, a requirement to provide the same support to Department of State per-
sonnel is a major deviation requiring the DCS, G–4 authorization.

6–3. Limitations and restrictions
a. LOGCAP is primarily designed to support deployed forces performing DOD-directed and DOD-supported missions,
and may, when directed by the DCS, G–4, be used to provide support to requirements of other Services, multinational
partners, and other Government agencies.
b. LOGCAP may not be used to perform personal services, inherently governmental functions, or services restricted by
any other applicable law, policy, or regulation. LOGCAP contracts are governed by the Federal Acquisition Regulation
(FAR).
c. LOGCAP will not be used as a source of supply.
d. LOGCAP will not be used to provide armed security services.
e. LOGCAP may generally be used in threat level I without restrictions. LOGCAP can be utilized in threat level II condi-
tions if LOGCAP contractor personnel (including subcontractor personnel) are provided sufficient force protection.
LOGCAP services should not be used in any operation, or in specific locations within an operational area, where there is
an ongoing or anticipated level III threat (see Joint Publication (JP) 3–10).
f. The requiring activity and/or supported organization is responsible for providing LOGCAP personnel and/or contractor
with force protection.
g. According to applicable U.S., host nation, or international law; relevant status of forces agreements; applicable security
agreements; international agreements; or other arrangements with local authorities and on a case-by-case basis when mil-
itary force protection and legitimate civil authority are deemed unavailable or insufficient, the CCDR (or a designee no
lower than the general or flag officer level) may authorize LOGCAP contractor personnel to be armed for individual self-
defense. When armed for personal protection, LOGCAP contractor personnel are authorized to use force only for individ-
ual self-defense. For more information on arming policy related to contractors (see AR 715–9).
h. Standardized support requirements will be determined by Joint standards of life support as supplemented by the geo-
graphic CCDR’s published or adopted engineering and support requirements to the maximum extent possible.


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6–4. Oversight and management
a. AMC will provide strategic program direction and develop standardized planning and oversight methods to drive de-
centralized day-to-day decisions and oversight. Implementing oversight methods will increase readiness, reduce costs, and
improve the quality of service while minimizing risks to operations.
b. The PMO for LOGCAP will deploy a forward program management team responsible for providing centralized
LOGCAP management structure and ensuring the responsible execution of LOGCAP requirements within the operational
area.
c. The forward LOGCAP management team, requiring activities, and appropriate acquisition personnel will use a teaming
approach to manage requirements and oversee contractor performance.
d. Commanders will support contract management requirements primarily through their nomination of a properly trained
and qualified individual for appointment as a COR by the cognizant contracting officer. LOGCAP CORs will execute only
authorities specifically delegated in the appointment letter signed by the contracting officer. The COR will provide the
operational commander a primary point of contact for assessing whether the contracted support is being executed in ac-
cordance with the performance requirements of the contract.
e. In accordance with AR 715–9, LOGCAP contractor personnel are not part of the operational chain of command, but
are supervised through their own management chain consistent with the terms and conditions of their contract. Command-
ers have authority over contractor personnel working on military facilities in matters of safety, security, environmental,
health, and welfare.

6–5. Nonmilitary individual replacement deployment operations
AR 715–9 authorizes LOGCAP performance contractors to establish and operate N-m IRDOs in order to process author-
ized employees for deployment. AMC will ensure that LOGCAP contractors receive all requirements and guidance for
establishment and maintenance of N-m IRDOs. DCS, G–4 will initiate LOGCAP performance contractor N-m IRDOs
approval process, to include coordination with the DCS, G–3/5/7; CG, HRC; and CG, MEDCOM, at least 30 days prior to
operation. DCS, G–3/5/7 will coordinate site inspections of N-m IRDOs to ensure contractor predeployment processing
meets the same standards as Army-run continental U.S. replacement centers as prescribed by Army Personnel Policy
Guidance. AR 715–9 provides additional requirements and procedures pertinent to overseas deployment of contractor
personnel supporting contingency operations.

6–6. Execution coordination
a. Forward-deployed LOGCAP management personnel will coordinate actions in accordance with local command policy,
to include participation in appropriate OCS-related boards and centers such as acquisition review boards and contracting
support boards.
b. Forward-deployed LOGCAP management personnel will allocate LSOs, as appropriate, to requiring activities, such as
corps and division headquarters, expeditionary sustainment commands, and sustainment brigades with significant
LOGCAP requirements to facilitate LOGCAP planning and management coordination.

6–7. Contractor-acquired property
Unless otherwise directed by law, LOGCAP contractor-acquired property no longer required for continued performance
of the task order for which it was purchased will be reviewed for use on other LOGCAP contract requirements and trans-
ferred by the contracting officer, as appropriate. The FAR prescribes policies and procedures for the reporting, reutilization,
and disposal of contractor inventory excess to contracts.

6–8. Duration of Logistics Civil Augmentation Program services
The duration of a LOGCAP task order or the decision to transition to other support or discontinue LOGCAP services is a
determination driven by operational requirements. The senior operational commander's assessment should be based on
considerations identified in appendix C and other operational needs in coordination with the cognizant contracting officer.




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Appendix A
References
Section I
Required Publications
AR 11–33
Army Lesson Learned Program (Cited in para 2–10t.)
AR 715–9
Operational Contract Support Planning and Management (Cited in paras 2–13a.)
DODD 4270.5
Military Construction (Cited in para 2–10p.) (Available at http://www.dtic.mil/whs/directives/.)
Joint Publication: JP 3–10
Joint Security Operations        in   Theater      (Cited   in   para   6–3e.)   (Available   at   http://www.dtic.mil/doc-
trine/new_pubs/jp3_10.pdf.)

Section II
Related Publications
A related publication is a source of additional information. The user does not have to read it to understand this regulation.
CFRs are available at http://www.ecfr.gov. USCs are available at http://www.gpo.gov/fdsys.
AR 11–2
Managers’ Internal Control Program
AR 15–1
Boards, Commissions, and Committees Department of the Army Federal Advisory Committee Management Program
AR 25–2
Information Assurance
AR 25–30
Army Publishing Program
AR 380–5
Department of the Army Information Security Program
AR 380–49
Industrial Security Program
AR 380–67
Personnel Security Program
AR 550–51
International Agreements
AR 570–9
Host Nation Support
ATTP 4–10
Operational Contract Support Tactics, Techniques, and Procedures
Chairman of the Joint Chiefs of Staff Manual: CJCSM 3122.02C
Joint Operations Planning and Execution System (JOPES) Volume III (Crisis Action Time-Phased Force and Deployment
Data Development and Deployment Execution (Available at http://www.dtic.mil/cjcs_directives/cjcs/manuals.htm.)
Class Deviation – Implementation Guidance for the SPOT to Account for Contractor Personnel Performing in the
U.S. Central Command Area of Responsibility
(Available at www.acq.osd.mil/dpap.)
Defense Federal Acquisition Regulation Supplement
(Available at http://www.acq.osd.mil/dpap/dars/dfarspgi/current/index.html.)

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DFAS–IN 37–100 Manual
Financial Management, The Army Management Structure Fiscal Year 2012 (Available at http://asafm.army.mil/of-
fices/bu/dfas37100.aspx?officecode=1200.)
DOD 7000.14–R
Department of Defense Financial Management Regulation (Available at http://www.dtic.mil/whs/directives.)
DODD 5530.3
International Agreements (Available at www.dtic.mil/whs/directives.)
DODI 1100.22
Policy and Procedures for Determining Workforce Mix (Available at http://www.dtic.mil/whs/directives.)
FAR
(Available at http://www.acquisition.gov/far/.)
FM 4–92
Contracting Support Brigade
JP 3–16
Multinational Operations (Available at http://www.dtic.mil/doctrine/new_pubs/jp3_16.pdf.)
JP 4–10
Operational Contract Support (Available at http://www.dtic.mil/doctrine/new_pubs/jp4_10.pdf.)
20 CFR 701
General; Administering Agency; Definitions and Use of Terms
20 CFR 702
Administration and Procedure
20 CFR 703
Insurance Regulations
20 CFR 704
Special Provisions for Longshore and Harbor Workers’ Compensation Act Extensions
48 CFR 28.305
Overseas Workers’ Compensation and War-Hazard Insurance
48 CFR 52.228–3
Workers' Compensation Insurance (Defense Base Act)
48 CFR 52.228–4
Workers' Compensation and War-Hazard Insurance Overseas
10 USC 688
Retired members: authority to order to active duty; duties
10 USC12301(a)
Reserve components generally
10 USC 12302
Ready Reserve
10 USC 12304
Selected Reserve and certain Individual Ready Reserve members; order to active duty other than during war or national
emergency
10 USC 12305
Authority of President to suspend certain laws relating to promotion, retirement, and separation
10 USC 12406
National Guard in Federal service: call
31 USC 501
Federal Activities Inventory Reform Act


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31 USC 1341
Antideficiency Act
31 USC 1535
Economy Act
33 USC 901–33 USC 950
Longshore and Harbor Worker’s Compensation Act
42 USC 1651–42 USC 1654
Defense Base Act

Section III
Prescribed Forms
This section contain no entries.

Section IV
Referenced Forms
Unless otherwise indicated below, DA Forms are available on the Army Publishing Directorate Web site
(http://www.apd.army.mil).
DA Form 11–2
Internal Control Evaluation Certification
DA Form 2028
Recommended Changes to Publications and Blank Forms




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Appendix B
Requesting Use of the Logistics Civil Augmentation Program Services

B–1. Purpose
Appendix B explains the LOGCAP process from predecisional phase to contract closeout phase and includes a sample
request letter for initial use of LOGCAP.

B–2. Logistics Civil Augmentation Program process flow chart
Figure B–1 depicts the predecisional process for consideration when planning for and/or requesting the use of LOGCAP.




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          Figure B–1. Logistics Civil Augmentation Program predecisional process chart
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B–3. Sample request letter
Figure B–2 provides a sample request letter for the initial use of LOGCAP.




                           Figure B–2. Sample format for Logistics Civil Augmentation Program


B–4. Routing requests for Logistics Civil Augmentation Program support
Figure B–3 provides an informational overview of the process for routing requests for LOGCAP support.


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          Figure B–3. Routing requests for Logistics Civil Augmentation Program support chart
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B–5. Routing requests for Logistics Civil Augmentation Program support
Table B–1 lists the data elements pertinent to the DCS G–4’s review of initial requests for LOGCAP support.

                                                 Federal Agencies       Federal Agencies      Federal Agencies
                                                 (DOD and non-          Requesting Sup-       Requesting Sup-
                                                 DOD)                   port for Allied       port for Coalition
                                                                        Forces                Forces
    Basic description of requested                  X                            X                     X
    LOGCAP services
    Sponsoring Cabinet-level agency                                   X                    X
    Government Agency or unit designated            X                 X                    X
    as the requiring activity
    Government Agency or unit(s) that will          X                 X                    X
    provide CORs
    Types of forces to be supported and             X                 X                    X
    estimated duration of support
    Justification of how LOGCAP services            X                 X
    meet mission requirements
    Justification of how LOGCAP services                                                   X
    meet multinational requirements
    Applicable international agreements*                              X                    X
    Source and availability of funding for          X                 X                    X
    task order or startup
    *For example, umbrella agreements, implementing arrangements, and acquisition and cross-servicing
    agreements, to include cost reimbursement provisions.

B–6. Logistics Civil Augmentation Program acquisition and execution process
Figures B–4 and B–5 depict the LOGCAP acquisition and execution processes.




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          Figure B–4. Logistics Civil Augmentation Program acquisition process chart
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     Figure B–5. Logistics Civil Augmentation Program execution chart
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Appendix C
Considerations for transition from or discontinuation of Logistics Civil Augmentation
Program Services

C–1. Purpose
Appendix C provides considerations to aid the senior operational commander's decision to transition from or discontinue
LOGCAP services. The senior operational commander’s decision to transition from or discontinue LOGCAP services is
based on operational needs and national policy and will be coordinated with the cognizant contracting officer to execute
any necessary contract actions.

C–2. Decision questions to transition from or discontinue Logistics Civil Augmentation Program
services
a. Are alternative sources available?
b. Will an alternate contracting source save money?
c. Will an alternate contracting source provide the Government with the best value?
d. Will an alternate contracting source lessen Government risk?
e. Will the transfer of Government-furnished and/or Government-purchased equipment facilitate the movement to an al-
ternate contracting source?
f. Will an alternate contracting source provide the same quality of support?
g. Is funding available to move to an alternate contracting source?
h. Is there staff available to move to an alternate contracting source?
i. Are there sufficient processes in place to move to an alternative contracting source?
j. Is the area of operations secure enough to allow for an alternative contracting source?
k. Have supported command requirements for an alternate contracting source been identified and approved?
l. Are there other financial, staffing, procedural, operational, political, military, or diplomatic reasons that would prevent
or encourage movement to an alternative contracting source?




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Appendix D
Internal Control Evaluation

D–1. Function
The function covered by this evaluation is LOGCAP.

D–2. Purpose
The purpose of this evaluation checklist is to assist the AMC, ASCCs, and other applicable organizations in evaluating
key internal controls listed below. It is not intended to cover all controls.

D–3. Instructions
Answers must be based on actual testing of key internal controls such as document analysis, direct observation, sampling,
and simulation. Answers that indicate deficiencies must be explained and corrective action indicated in supporting docu-
mentation. Although not every section is required by each organization, these internal controls must be evaluated at least
once every 5 years. Certification that this evaluation has been conducted must be accomplished on DA Form 11–2 (Internal
Control Evaluation Certification).

D–4. Test questions
a. Are formal agreements and procedures established to facilitate coordination among the various organizations required
to manage and execute LOGCAP (for example, AMC, DCMA, and contracting community)?
b. Are LOGCAP support plans and contractor capabilities validated during applicable Joint and Army exercises?
c. Are LOGCAP support plans developed, updated, and available to support applicable ASCC OPLANs and OPORDs?
d. Are there formalized processes, procedures, or scheduled reviews for continuous program improvement?
e. Have metrics or key performance indicators been developed to measure program LOGCAP readiness and capability to
support contingency operations?
f. Is LOGCAP addressed in ASCC OPLAN and/or OPORD, CSIPs, and CMPs?
g. Is LOGCAP considered as an option to provide logistics and base support service during ASCC planning?
h. Is LOGCAP integrated in the planning and execution of applicable ASCC deliberate planning exercises and associated
planning conferences?
i. Is the LWRM held annually to capture and prioritize LOGCAP support to ASCC planning and training requirements?
j. Is there a process and/or repository to capture lessons learned to improve the integration of LOGCAP in ASCC plans,
exercise support, and programmatic impacts?

D–5. Supersession
Not applicable.

D–6. Comments
Help make this a better tool for evaluating internal controls. Submit comments to the Headquarters, Department of the
Army, Deputy Chief of Staff, G–4 (DALO–ORS–C), 500 Army Pentagon, Washington, DC 20310–0500.




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Glossary
Section I
Abbreviations
ACSIM
Assistant Chief of Staff for Installation Management
AMC
U.S. Army Materiel Command
ASA (ALT)
Assistant Secretary of the Army (Acquisition, Logistics and Technology)
ASA (IE&E)
Assistant Secretary of the Army (Installations, Energy and Environment)
ASCC
Army service component command
BOD
board of directors
CAAF
contractors authorized to accompany the force
CAR
Chief, Army Reserve
CCDR
combatant commander
CFR
code of federal regulation
CG
Commanding General
CMP
contractor management plan
COR
contracting officer’s representative
CSB
contracting support brigade
CSIP
contract support integration plan
DA
Department of the Army
DCMA
Defense Contract Management Agency
DCS, G–1
Deputy Chief of Staff, G–1
DCS, G–3/5/7
Deputy Chief of Staff, G–3/5/7
DCS, G–4
Deputy Chief of Staff, G–4
DCS, G–8
Deputy Chief of Staff, G–8


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DOD
Department of Defense
HQDA
Headquarters, Department of the Army
HRC
Human Resources Command
JP
Joint publication
LOGCAP
Logistics Civil Augmentation Program
LSO
LOGCAP support officer
MDEP
management decision evaluation package
MEDCOM
U.S. Army Medical Command
NATO
North Atlantic Treaty Organization
N–m IRDO
nonmilitary individual replacement deployment operations
OCS
operational contract support
OILs
observations, insights, and lessons
OPLAN
operations plan
OPORD
operation order
PME
professional military education
PMO
program management office
PPBES
Planning, Programming, Budgeting, and Executing System
SPOT
synchronized predeployment and operational tracking
TAA
total Army analysis
TJAG
The Judge Advocate General
TRADOC
U.S. Army Training and Doctrine Command
TSG
The Surgeon General
USACE
U.S. Army Corps of Engineers


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USARC
U.S. Army Reserve Command
USC
United States Code
USD (AT&L)
Under Secretary of Defense (Acquisition, Technology and Logistics)

Section II
Terms
Alliance
The relationship that results from a formal agreement (for example, a treaty) between two or more nations for broad, long-
term objectives that further the common interests of the members.
Antideficiency Act
The Act prohibits Federal employees from (1) entering into contracts that exceed the enacted appropriations for the year
and (2) purchasing services and merchandise before appropriations are enacted.
Army service component command
An Army force, designated by the Secretary of the Army, comprised primarily of operational organizations serving as the
Army component of a combatant command or subunified command. If directed by the CCDR, serves as a Joint Force Land
Component Command or Joint Task Force. Command responsibilities are those assigned to the CCDR and delegated to
the ASCC and those established by the Secretary of the Army.
Coalition
An ad hoc arrangement between two or more nations for common action.
Contingency clause
A clause in a contract for peacetime performance that would afford an option to require continuation of the performance,
in whole or specified part, in a wartime situation. If such a situation occurs, a duly appointed contracting officer would
exercise the option.
Contingency contract
A contract for goods and services awarded by military or DOD contracting officers deployed to the operational area, as
well as other service contracts that have a prescribed area of performance within a designated contingency area. Contin-
gency contracts include theater support, external support, and system support contracts.
Contingency operation
A military operation that is designated by the Secretary of Defense as an operation in which members of the Armed Forces
are or may become involved in military actions, operations, or hostilities against an enemy of the U.S. or against an op-
posing military force; or results in the call or order to, or retention on, Active duty of members of the uniformed services
under 10 USC 688, 10 USC 12301(a), 10 USC 12302, 10 USC 12304, 10 USC 12305, or 10 USC 12406, or any other
provision of law during a war or during a national emergency declared by the President or Congress.
Contracting officer
Contracting officer is the Government official (uniformed or civilian) with the legal authority to enter into, administer,
and/or terminate contracts.
Contracting officer’s representative
Government employee (either military or civilian), appointed, in writing, by the contracting officer, to perform contract
surveillance, perform other duties specified by their appointment letter, and to act as liaison between the contracting officer
and the contractor.
Contractor
Any individual, firm, corporation, partnership, association, or other legal non-Federal entity that enters into a contract
directly with DOD to furnish services, supplies, or construction. Foreign governments, representatives of foreign govern-
ments, or foreign corporations wholly owned by foreign governments that have entered into contracts with DOD are not
defense contractors.




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Contractor employees
Prime contractors, their employees, and subcontractors at all tiers (including third-country national and local national per-
sonnel) supporting U.S. Armed Forces under such contracts. They are also referred to as “contractor personnel.”
Contractor management plan
A plan focused on mission-specific contractor management requirements such as personnel accountability, force protec-
tion, use of private security contracts, and Government-furnished equipment.
Contractor support integration plan
The planning mechanism to ensure effective and efficient contract support to a particular operation. The CSIP serves as
the mechanism for providing detailed guidance on OCS for a specific military operation and covers the function of acquir-
ing (contracting for) theater support contracting and nonfacility (an engineer staff function) support related information on
external support contracts, such as LOGCAP, in support of a particular operation.
Contractor–acquired property
Property acquired, fabricated, or otherwise provided by the contractor for performing a contract and to which the Govern-
ment has title.
Defense Base Act
The Defense Base Act provides workers’ compensation protection to civilian employees working outside the U.S. on U.S.
military bases or under a contract with the Government for public works or for national defense. Related statutes include
the Defense Base Act (42 USC 1651–54) and the Longshore and Harbor Workers’ Compensation Act (33 USC 901–50).
Implementing regulations are available at 20 CFR 701, 20 CFR 702, 20 CFR 703, and 20 CFR 704. The FAR also sets the
workers’ compensation insurance requirements for all overseas contracts at 48 CFR 28.305, 48 CFR 52.228–3, and 48
CFR 52.228–4.
External support contracts
External support contracts are pre-arranged contracts or contracts awarded during a contingency from contracting organi-
zations whose contracting authority does not derive directly from the contingency operation or system support contracting
authority. The largest and most commonly used external support contracts are the Services’ Civil Augmentation Program
contracts including the Army’s LOGCAP, the Air Force Contract Augmentation Program, and the Navy’s Global Con-
struction Capability Contract and Global Contingency Construction Contract. External support contracts normally include
a mix of U.S. citizens, third-country nationals, and local national contractor employees.
Funding document
The funding document provides written assurance from a responsible fiscal authority that funds are legally available for
the purpose of the contract action.
Global
Within and outside the continental United States.
Host nation support
Civil and military assistance rendered in peace and operations other than war by a host nation to allied forces, which are
located on or in transition through the host nation's territory. The basis for such commitments is bilateral or multilateral
agreements concluded between the host nation and the nation(s) having forces operating on the host nation’s territory.
International agreements
Agreements concluded with one or more foreign governments.
Logistics Civil Augmentation Program
The LOGCAP is a DA Regulatory Program to augment the force by providing a service capability to meet externally
driven operational requirements for rapid contingency augmentation support. LOGCAP plans for and executes contracted
support services in conjunction with the Army Field Support Brigade and CSB for deployed forces performing missions
directed or supported by the DOD during global contingency operations.
Logistics Civil Augmentation Program forward management team
The senior program management team that provides a central management structure to ensure integration and execution
of LOGCAP requirements. Components of the team are: CSBs, LOGCAP Support Brigade, USACE, DCMA, PMO for
LOGCAP, and the Rock Island Contracting Center.
Multinational
Between two or more forces or agencies of two or more nations or coalition partners.


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Performance work statement
Addresses the quality of work in terms of desired outcome and accurately reflects the actual Government’s requirement,
including performance standards.
Requiring unit or activity
A military or other designated supported organization that identifies and receives contracted support during military oper-
ations (see supported unit).
Support
Includes combat support and combat service support functions.
Support unit
The unit, activity, or organization receiving dedicated contracted support. The supported unit is usually the sponsoring
unit.
Synchronized Predeployment and Operational Tracker
The Joint Enterprise System for all contingency contracts and contractors authorized to accompany the force (CAAF).
SPOT provides by name visibility of deployed CAAF and contract capability information for CCDRs. Defense contracting
agencies are required to register acquisition information into the SPOT or its successor system when contingency contracts
are awarded. Thereafter, defense contractor companies populate the SPOT or its successor with their employee’s personal
data via a Web-based application. Once an individual is selected for deployment duty, the SPOT allows for generation of
a standardized, digitally signed letter of appreciation. Predeployment processing compliance, travel to the area of respon-
sibility, in-theater movements, and redeployment activities are annotated in SPOT. Government agencies use the SPOT to
analyze available contract services and to support their mission needs. Defense contractors use the SPOT to process and
track CAAF who deploy to provide required capabilities. The CCDRs use the SPOT reports to maintain overall visibility
of contractors within their area of responsibility, determine their support requirements, and integrate contractor support
into their operational plans.

Section III
Special Abbreviations and Terms
LWRM
Logistics Civil Augmentation Program Worldwide Requirements Meeting




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